Case 23-41037-can7             Doc 22-2 Filed 08/15/23 Entered 08/15/23 11:46:41                                            Desc
                                      Exhibit 2 Page 1 of 2



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                                                                                   [P “JUL1 7 2023
                      I N T H E CI R CUIT COURT OF CL AY COUNT Y , M
                                   A SSO CI A T E C I R C U I T D I V I SI O N

 N or th gate M H P L indale L L C                                                      C LA Y C O U N T Y
                                                                                        C IR C U IT C O U R T T IM E :
 GBH Pr oper ty, L L C

                                    PL A I N T I F F
                                                             C A SE N O .; 23C Y - CV 05969
 V S.                                                        D I V I SI ON : 9

 J essi c a A b a r ca


 J O H N /J A N E D O E
                                    DEFENDANT (S)

                                            JU D GM E N T ENT RY


           N O W , on 07/ 17/2023, this cause comes before the Court. Plaintif f appears by counsel, Steve N.
 Gatzoulis. Defendant(s):
 Jessica Abarca: ( ) appears in person         appears not ( ) Consents to Judgment
 ; ( ) appears in person ( ) appears not       Consents to Judgment
 John/Jane Doe: ( ) appears in person          appears not ( ) Consents to Judgment

           Whereupon evidence is considered and the Court fi nds the issues in favor of the Plaintif f and
 against Def endant(s),
          I t is therefore ORDERED, ADJUDGED AND DECREED that Plaintiff have and recover from
 the Defendant(s) possession of the premises located in CLAY County and commonly known as 1260 NE
 Hwy 69 #55, Claycomo M O 64068
           It is FURTH ER ORDERED, ADJUDGED AND DECREED Plaintiff hav e and recov er of and
 from Defendant(s) Jessica Abar ca, ;

                                     DAM AGIESO
                                              T ED: TO H tAI N»
                                   D E SCRIPT I ON                                                  A M OU N T
    RE N T                                                                                                       $ 1773.00
    L A TE FEES SET OUT IN CON TRA CT                                                                               $ 180.00       li




    CON CE S SI ON S                                                                                                         $0

    U T IL I T IE S                                                                                                      $ 70.50

                                                                                                                             $0




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                                             Exhibit 2 Page 2 of 2




    BA D CHECK CHA RGES




     ATTORN EY’S FEES (If applicable)                                                  $ 350.00

     SPE C IA L PR O CE SS SER V ER FE E S                                             $ 5 1.50




             It is FURTH ER ORDERED, ADJUDGED AND DECREED that costs are assessed against
  DefendanKs) and interest shall accrue at the statutory rate of 9“/ oper annum.
             L E T E X E C U T I O N I SSU E .

                                                            JUDGE D^ i^        White




   02 M O JE R & P R ev 0 1032 0 17
